Case 4:21-cr-00126-SDJ-KPJ Document 22 Filed 05/12/21 Page 1 of 6 PageID #: 73




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                                                                   MAY 1 2 2021
                                     SHERMAN DIVISION                          Clerk, U.S. District Court
                                                                                    Texas Eastern

                                                                 SEALED

                                                                 No. 4:21-CR-




                                         INDICTMENT
 THE UNITED STATES GRAND JURY CHARGES:

                                          Count One

                                                 Violation: 21 U.S.C. § 846 (Conspiracy
                                                 to Possess with the Intent to Distribute
                                                 Marijuana)

         That from sometime in or about January 2017, and continuously thereafter up to

 and including May 12, 2021, in the Eastern District of Texas and elsewhere,




                           Kennia Emperatriz Goodman-Largaespada



 Indictment/Notice of Penalty - Page 1
Case 4:21-cr-00126-SDJ-KPJ Document 22 Filed 05/12/21 Page 2 of 6 PageID #: 74




 defendants, did knowingly and intentionally combine, conspire, and agree with each other

 and other persons known and unknown to the United States Grand Jury, to knowingly

 and intentionally possess with the intent to distribute 1000 kilograms or more of a

 mixture or substance containing a detectable amount of marijuana, a violation of 21

 U.S.C. § 841(a)(1).

         In violation of 21 U.S.C. § 846.

                                            Count Two

                                                  Violation: 18 U.S.C. § 1956(h)
                                                   (Conspiracy to Commit Money
                                                  Laundering in violation of 18 U.S.C.
                                                   §§ 1956(a)(l)(A)(i), 1956(a)(l)(B)(i))
         That from sometime in or about January 2017, and continuously thereafter up to

 and including May 12, 2021,



                          Kennia Emperatriz Goodman-Largaespada

 defendants, did knowingly, willfully, and unlawfully combine, conspire, confederate, and

 agree together and with each other, and with others known and unknown to the Grand

 Jury, to commit certain offenses against the United States, to-wit:

         1. to knowingly conduct and attempt to conduct financial transactions affecting

 interstate commerce that involved the proceeds of a specified unlawful activity, that is,



 Indictment/Notice of Penalty - Page 2
Case 4:21-cr-00126-SDJ-KPJ Document 22 Filed 05/12/21 Page 3 of 6 PageID #: 75




 Conspiracy to Possess with the Intent to Distribute a Controlled Substance, as described

 in Count One of this Indictment, with the intent to promote the carrying on of said

 specified unlawful activity, and that while conducting and attempting to conduct such

 financial transactions, knew that the property involved represented the proceeds of some

 form of unlawful activity, in violation of 18 U.S.C. § 1956( )(l)(A)(i);

        2. to knowingly conduct and attempt to conduct financial transactions affecting

 interstate commerce that involved the proceeds of a specified unlawful activity, that is,

 Conspir cy to Possess with Intent to Distribute a Controlled Substance, as described in

 Count One of this Indictment, knowing that the transaction was designed in whole or in

 part to conceal and disguise the nature, location, source, ownership, and control of the


 proceeds of the specified unlawful activity, and that while conducting and attempting to

 conduct such financial transactions, knew that the property involved represented the

 proceeds of some form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(l)(B)(i);

        All in violation of 18 U.S.C. § 1956(h).

           NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
        As a result of committing the offense charged in this Indictment, the defendants

 shall forfeit to the United States, pursuant to 18 U.S.C. § 982 and 21 U.S.C. § 853, all

property used to commit or facilitate the offenses, proceeds from the offenses, and

property derived from proceeds obtained directly or indirectly from the offenses,

 including but not limited to the following:




Indictment/Notice of Penalty - Page 3
Case 4:21-cr-00126-SDJ-KPJ Document 22 Filed 05/12/21 Page 4 of 6 PageID #: 76




         $6,188 in U.S. curre cy seized from and

         $17,200 in U.S. currency seized from

                                                A TRUE BILL




                                                GRAND JURY FOREPERSON


 NICHOLAS J. GANJEI
 ACTING UNITED STATES ATTORNEY



 HEATHER RATTAN Date
 Assistant United States Attorney




 Indictment/Notice of Penalty-Page 4
Case 4:21-cr-00126-SDJ-KPJ Document 22 Filed 05/12/21 Page 5 of 6 PageID #: 77




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

                                                                SEALED

                                                                No. 4.-21-CR-
                                                                Judge




Violation: 21 U.S.C. § 846

Penalty: If 1000 kilograms or more of a mixture or substance containing a detectable
              amount of marijuana not less than 10 years and not more than life
              imprisonment, a fine not to exceed $10 million, or both; supervised release
               of at least five years.

 Special Assessment: $100.00

                                         Count Two

Violation: 18 U.S.C. § 1956(h) in violation of 18 U.S.C. §§ 1956(a)(l)(A)(i) and
                1956(a)(l)(B)(i)



Indictment/Notice of Penalty-Page 5
Case 4:21-cr-00126-SDJ-KPJ Document 22 Filed 05/12/21 Page 6 of 6 PageID #: 78




 Penalty: Not more than 20 years imprisonment; a fine not to exceed $500,000 or
                 twice the pecuniary gain or loss, and a term of supervised release of not
                 more than 3 years.


 Special Assessment: $100.00




Indictment/Notice of Penalty - Page 6
